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              Exhibit 13
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                                      OMNIBUS ASSIGNMENT


MORGAN STANLEY MORTGAGE CAPITAL HOLDINGS LLC, a New York limited
liability company ("Morgan Stanley"), for good and valuable consideration, the receipt and
sufficiency of which are acknowledged, hereby sells, transfers, assigns, delivers, sets-over and
conveys to U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR MORGAN
STANLEY CAPITAL I INC., COMMERCIAL MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2012-05, its successors and assigns ("Assignee"), without recourse to
Morgan Stanley and without representations, warranties or covenants, express or implied, by Morgan
Stanley, except as set forth in that certain related Mortgage Loan Purchase Agreement, all right, title
and interest of Morgan Stanley in and to the loan identified on Exhibit A attached hereto (the "Loan"),
including without limitation all of Morgan Stanley's right, title and interest in any guaranties, loan
participation interests, indemnities, claims, collateral, insurance policies, certificates of deposit,
letters of credit, escrow accounts, performance bonds, demands, causes of action and any other
collateral arising out of and/or executed and/or delivered in or to or with respect to the Loan, together
with any other documents or instruments executed and/or delivered in connection with or otherwise
related to the Loan.

        Executed to be effective as of July 30, 2012.

                                MORGAN STANLEY MORTGAGE CAPITAL HOLDINGS LLC,
                                A NEW YORK LIMITED IABI ITY COMPANY

                                By:
                                        Nam-   isti ..nsine
                                        T e: Vice President
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Loan/File Name: Econo.Lodge Times Square
AMO ID: 882.039
Loan No.: 1'2-38089
Pool:. MSMC 2012-05

                                  EXHIBIT "A"
                                      TO
                              OMNIBUS ASSIGNMENT

$11,500,000.00 loan to 767 8TH AVENUE LLC, a Delaware limited liability company and
SHERMAN MANAGEMENT .L.LC, a Delaware limited liability company, which is secured by
property located in the State of New York, County of Manhattan/New York.
